                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

MEMPHIS CENTER FOR REPRODUCTIVE
HEALTH, on behalf of itself, its physicians and staff,
and its patients; PLANNED PARENTHOOD OF
TENNESSEE AND NORTH MISSISSIPPI, on behalf of                    CIVIL ACTION
itself, its physicians and staff, and its patients;
KNOXVILLE CENTER FOR REPRODUCTIVE                                CASE NO. 3:20-cv-00501
HEALTH, on behalf of itself, its physicians and staff,
and its patients; FEMHEALTH USA, INC., d/b/a                     JUDGE CAMPBELL
CARAFEM, on behalf of itself, its physicians and staff,
and its patients; DR. KIMBERLY LOONEY, on behalf
of herself and her patients; and DR. NIKKI ZITE, on
behalf of herself and her patients,

       Plaintiffs,

       v.

HERBERT H. SLATERY III, Attorney General of
Tennessee, in his official capacity; LISA PIERCEY,
M.D., Commissioner of the Tennessee Department of
Health, in her official capacity; RENE SAUNDERS,
M.D., Chair of the Board for Licensing Health Care
Facilities, in her official capacity; W. REEVES
JOHNSON, JR., M.D., President of the Tennessee Board
of Medical Examiners, in his official capacity;
HONORABLE AMY P. WEIRICH, District Attorney
General of Shelby County, Tennessee, in her official
capacity; GLENN FUNK, District Attorney General of
Davidson County, Tennessee, in his official capacity;
CHARME P. ALLEN, District Attorney General of
Knox County, Tennessee, in her official capacity; and
TOM P. THOMPSON, JR., District Attorney General for
Wilson County, Tennessee, in his official capacity,

       Defendants.

                     MOTION FOR TEMPORARY RESTRAINING ORDER
                          AND/OR PRELIMINARY INJUNCTION

     Plaintiffs Memphis Center for Reproductive Health d/b/a Choices, Planned Parenthood of

Tennessee and North Mississippi, Knoxville Center for Reproductive Health, Femhealth USA,
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Inc., d/b/a carafem; Dr. Kimberly Looney, and Dr. Nikki Zite (together, “Plaintiffs”) on behalf of

themselves and their patients, physicians, and staff, hereby respectfully move this Court for an

emergency temporary restraining order (“TRO”) followed by a preliminary injunction, to enjoin

enforcement of two sets of bans on pre-viability abortion enacted by the Tennessee General

Assembly through House Bill 2263/Senate Bill 2196 (the “Act”).

      On June 19, 2020, the Act passed both legislative bodies and will go into effect as soon as

it is signed by Governor Bill Lee. It is certain that the Governor will sign the bill imminently

because his administration submitted the bill to the legislature for consideration, and the

Governor has publicly lauded it as a “monumental step” toward making Tennessee “one of the

most pro-life states in the country.”1

      First, the Act criminalizes the provision of abortion as soon as a “fetal heartbeat” is

detected and then at cascading gestational ages up through 24 weeks from the pregnant person’s

last menstrual period (“LMP”) (the “Cascading Bans”). Second, the Act also criminalizes the

provision of abortion where the provider “knows” that it is being sought “because of” the sex or

race of the fetus, or “a prenatal diagnosis, test, or screening indicating Down syndrome or the

potential for Down syndrome in the” fetus (the “Reason Bans”) (together with the “Cascading

Bans,” the “Bans”). Physicians who violate the Bans are subject to severe criminal penalties and

potential loss of licensure.

      Plaintiffs’ seek an emergency TRO blocking the Bans as to pre-viability abortion care,

because without emergency relief, the Bans will immediately and irreparably harm Plaintiffs and

their patients by instantly eviscerating pre-viability abortion access in Tennessee with


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  Tennessee Office of the Governor, Gov. Bill Lee Introduces Comprehensive Pro-Life
Legislation, (Jan. 23, 2020) https://www.tn.gov/governor/news/2020/1/23/gov--bill-lee-
introduces-comprehensive-pro-life-legislation.html.
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devastating effects. If the Bans take effect, Plaintiffs will have no choice but to turn away the

vast majority of pregnant people seeking critical and time-sensitive medical care.

      Plaintiffs also seek a preliminary injunction pursuant to Rule 65(a) of the Federal Rules of

Civil Procedure, blocking enforcement of the Bans as to pre-viability abortion, to protect current

and future patients from imminent and irreparable harm to their health, safety, and constitutional

right to choose abortion.

      The issuance of an emergency TRO is warranted. Plaintiffs have set forth specific facts in

sworn declarations showing that immediate and irreparable injury will result to Plaintiffs and

their patients before Defendants can be heard in opposition: specifically, that every day the Bans

are in effect, virtually all patients in Tennessee will be unable to receive constitutionally-

protected abortion care in the state; those seeking banned care will be forced to travel out of state

if they are able; those unable to travel out of state will be forced to remain pregnant and give

birth against their will; and others may resort to unsafe means to terminate their pregnancy.

      As detailed more fully in the accompanying Memorandum of Law, Plaintiffs easily satisfy

the remaining requirements for a TRO and the requirements for subsequent preliminary

injunctive relief. Because the Bans will prohibit the vast majority of pre-viability abortions 2 in

Tennessee contravening binding Supreme Court precedent, Roe v. Wade, 410 U.S. 113 (1973);

the Reason Bans will implement unconstitutionally vague laws that do not give Plaintiffs fair

notice of how to comply with their mandates, United States v. Caseer, 399 F.3d 828, 835 (6th

Cir. 2005); and the Bans lack adequate exceptions for medical emergencies because they are


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  The Bans’ only application is to unconstitutionally proscribe pre-viability abortion care.
Tennessee already prohibits abortion to the fullest extent permitted under the Constitution
through its post-viability ban (which Plaintiffs do not challenge), and the Act explicitly does
nothing to disturb that ban. Tenn. Code Ann. § 39-15-211(b)(1); H.B. 2263/S.B. 2196 §§ 39-15-
216(i)(2); 217(j)(2).
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unconstitutionally vague, Women’s Med. Prof’l Corp. v. Voinovich, 130 F.3d 187, 205 (6th Cir.

1997), Plaintiffs have established a substantial likelihood of success on the merits of their claims

that the Bans violate the Fourteenth Amendment to the U.S. Constitution. Further, Plaintiffs

have established that the Bans will inflict irreparable constitutional, physical, emotional, and

other harms on Plaintiffs’ patients for which there is no adequate remedy at law. The balance of

equities likewise weighs firmly in Plaintiffs’ favor, and the relief they have requested will further

the public interest.

      Finally, Plaintiffs respectfully request that this Court exercise its discretion to waive the

Federal Rule of Civil Procedure 65(c) security requirement.

      Further, pursuant to FRCP 65(b)(1)(B), the undersigned counsel certify that upon

electronically filing this motion and Complaint using the Courts CM/ECF system, counsel will

electronically mail the filed documents to: the Office of the Attorney General and other State

defendants at tnattygen@ag.tn.gov; Amy Weirich, District Attorney for Shelby County at

Amy.Weirich@scdag.com; Glenn Funk, District Attorney for Davidson County at

Glenn..Funk@jis.nashville.org; Charme P. Allen, District Attorney for Knox County at

DAG@knoxcounty.org; and Tom P. Thompson, District Attorney for Wilson County at

jllawson@tndagc.org and thswink@tndagc.org. Counsel will send the filed documents to the

following by facsimile: Charme P. Allen, District Attorney for Knox County at 865-215-4253.

Formal notice to Defendants and their agents, however, should not be required due to the

constitutional rights at issue and the inability to effect formal process as a result of the Bans’

immediate effective date.

      For the foregoing reasons, and as set forth in the accompanying Memorandum of Law and

Declarations, Plaintiffs respectfully request this Court GRANT the Motion for a Temporary


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Restraining Order and/or Preliminary Injunction. A proposed Temporary Restraining Order is

attached hereto.

Dated: June 22, 2020



                                           Respectfully submitted,

                                           /s/ Thomas Castelli
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                               Health and Femhealth USA, Inc., d/b/a carafem

                               *Application for admission pro hac vice filed
                               herewith




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                                     CERTIFICATE OF SERVICE
       I, the undersigned, do hereby certify that a true and correct copy of the foregoing has been

served by e-mail according to instructions from the Attorney General’s Office                    to

tnattygen@ag.tn.gov and by U.S. Mail on the following on the 22nd day of June 2020:

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                                                  Thomas H. Castelli




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